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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

 IN RE

 HDR FARMS INCORPORATED                                                   CASE NO. 20-50888

 DEBTOR

 HDR FARMS INCORPORATED                                                           PLAINTIFF
 LIQUIDATING TRUST

 V.                                                                         ADV. NO. 21-5166

 APPLIED BOTANICS LLC f/k/a XSI                                                 DEFENDANT
 USA, LLC, et al.

                          THIRD AMENDED ORDER FOR TRIAL

       A preliminary order granting Defendants Annette Cox and Todd Mercer’s Motions for

Summary Judgment [ECF Nos. 203, 204] was entered on July 22, 2022. [ECF No. 222.] A

memorandum opinion is forthcoming.

       Summary judgment motions filed by the Defendants Kawel Laubach and Cozen

O’Connor are submitted. [ECF Nos. 200, 209.] A two-day trial is scheduled for August 24-25,

2022, and pending pretrial deadlines are quickly approaching. [ECF No. 179.]

       The issues raised by the summary judgment motions and supplemental filings are

complex and require additional time for a thorough review. The parties should not have to incur

the costs associated with preparing for trial if the claims can be resolved on summary judgment.

Therefore, the trial date will be rescheduled.

       Counsel for the Plaintiff and Defendants Laubach and Cozen attended a status conference

on August 4, 2022, in chambers to discuss the pending matters and upcoming trial. [ECF No.




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253.] The parties agreed they will use the additional time to reconsider settlement and possible

mediation.

         Based on the foregoing, it is ORDERED:

         (1) The Second Amended Order for Trial [ECF No. 179] is VACATED;

         (2) Trial of this proceeding shall be held at 9:00 a.m. (prevailing time) on October 11-

12, 2022, in the U.S. Bankruptcy Court, Community Trust Building, Second Floor

Courtroom, 100 East Vine Street, Lexington, Kentucky.

         (3) An exhibit list and copies of all exhibits are filed. Unless written objections to the

authenticity and/or admissibility of each such exhibit are filed on or before September 27,

2022, the exhibit shall be deemed authentic and may be admitted upon request of the party to

admit the exhibit into evidence at trial. In the absence of good cause, no exhibit may be offered

in evidence except upon compliance with the conditions contained in this order. All exhibits

shall be presented using the Court's Evidence Presentation System (“EPS”).1

         (4) Counsel are required to contact the Courtroom Deputy to schedule EPS Training on

or before September 27, 2022. Counsel are required to complete the EPS Training no later

than October 7, 2022.

         (5) The parties shall file Joint Stipulations of Fact on or before September 27, 2022.2

         (6) By September 27, 2022, each party shall file a Trial Brief which shall include a list

of witnesses expected to be called at trial, with summary of anticipated testimony. The Trial




1
 Information available at http://www.kyeb.uscourts.gov Judges Info – Special Instructions – Evidence Presentation
System (EPS)
2
 Instructions available at http://www.kyeb.uscourts.gov Judge’s Info – Special Instructions – Joint Stipulations
Preparation

                                                          2
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                Brief shall set forth the issues in question, a summary of what the evidence will tend to prove,

                and case and statutory authority in support of the respective positions of the parties.

                       (7) The deadlines and the trial date may be extended upon request if settlement

                negotiations are ongoing.




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___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                      Signed By:
                                                                      Gregory R. Schaaf
                                                                      Bankruptcy Judge
                                                                      Dated: Thursday, August 4, 2022
                                                                      (grs)
